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UNITED STATES DISTRICT COURT _
FOR THE DISTRICT OF COLUMBIA - GILED

JUL 4 6.2004

of MEYER WH ANGTON, CLERK
nancy BE STRICT COUR:

UNIVERSITY LEGAL SERVICES-
PROTECTION AND ADVOCACY, INC

Plaintiffs,

v. Civil Action No: 1:04CV01021 (RBW)

NORWESTERN HUMAN SERVICES,
In his official capacity

and

MARTHA B. KNISLEY, DIRECTOR
DISTRICT OF COLUMBIA
DEPARTMENT OF MENTAL HEALTH

In her official capacity

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:
JOHN STUPAK, ACTING DIRECTOR |
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Defendants. |

STIPULATION
The Court has before it a Motion for Preliminary Injunction submitted by

plaintiff, University Legal Services-Protection and Advocacy, Inc. (hereinafter “ULS-
P&A”) and an opposition and supplemental opposition submitted by the defendant,
Martha Knisley, Director of the District of Columbia Department of Mental Health
(hereinafter “DMH”), The Court has been advised that the plaintiff and defendant DMH
have entered into an agreement in the hopes of expeditiously resolving the issues raised
in plaintiffs motion. The Court is further advised that all the parties to this matter wish
to reserve all claims and defenses that they have raised, as well as any others that may be
available to them, and that the willingness of defendant DMH to enter into this agreement

is limited to the unique circumstances of this case, including the fact that the case raises

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issues concerning access to consumers and records of consumers whose provider of
mental health services will no longer be providing services in the District of Columbia.
Having considered the representations of the parties, and the record herein, the Court
concludes that the interests of justice would be served by the agreement, which is
reflected in the order set forth below. Accordingly, it is hereby

ORDERED that ULS-P&A is hereby appointed chent representative within the
meaning of the District of Columbia Mental Health Information Act, D.C. Code § 7-
1201.01(3), for the sole purpose of authorizing defendant DMH to disclose pursuant to
D.C. Code § 7-1202.01 names and contact information of those individuals for whom
Northwest Human Services (“NWHS”) acted as representative payee or managed
personal funds from May 2002 to the present, to the extent that DMH obtained such
information during the course of its oversight and monitoring of NWHS. In providing
this information, DMH shall specify for each of these individuals whether NWHS acted
as representative payee for the individual and/or whether NWHS handled personal funds
for the individual in a capacity other than as representative payee. The scope of this
appointment as client representative is expressly limited to authorizing a one-time
disclosure of the individual’s name and contact information, including, to the extent
known to DMH, the most recent address; the most recent home telephone; the address
and phone for legal guardian, next of kin or other contact; the name of the ACT provider
to which the individual’s care has been transferred; and, if the individual has not been
transferred to an ACT provider, the name of the Core Service Agency with which the

individual is enrolled; and it is

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FURTHER ORDERED that DMH shail furnish ULS-P&A with the names and
contact information specified above in writing within frve business days of the date of
this order; and it is

FURTHER ORDERED that, upon DMH furnishing ULS-P&A with this
information with respect to any individual, ULS-P&A’s appointment as client
representative automatically expires with respect to that individual; and it is

FURTHER ORDERED that, in the event ULS-P&A subsequently furnishes
DMH with written authorization for the disclosure of records from any individual chent
of NWHS identified as a result of this order (if required under 42 USC 10805(a}f4)),
DMH shall grant access to any and all records requested by ULS-P&A to which ULS-
P&A is entitled under 42 CFR § 51.41(c) within ten business days of DMH’s actual
_ receipt of the authorization. If such written authorization is not required under 42 USC
10805(a)(4) because ULS-P&A determines the individual does not have capacity to
authorize disclosure of the records, does not have a guardian, and has been, or may be,
subject to abuse or neglect, ULS shall provide DMH with a written statement to this
effect. In such cases where ULS determines that the NWHS' client's capacity fo authorize
disclosure of records is unclear, ULS will have a licensed social worker or other qualified
mental health professional of ULS-P&A's choosing interview the client to make a
determination about the individual's capacity and will provide to DMH a written
statement which is based on this determination. Within 10 business days of DMH's.
receipt of the written statement referenced above, a written statement of the bases for
probable cause to believe that the individual has been or may be subject to abtise or

neglect, and a written request for records from ULS-P&A, DMH shall grant ULS-P&A

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access to the records as indicated above. ULS-P&A shall furnish such authorizations or
requests by telephonic facsimile to a number specified’by DMH and shall
contemporaneously confirm DMH’s receipt of the facsimile by voice contact; and it is
FURTHER ORDERED that the Court shail defer a ruling on plaintiffs Motion
for Preliminary Injunction unless and until one or more of the parties requests otherwise;
and it is .
FINALLY ORDERED that all claims and defenses available to any of the

parties with respect to the Motion for Preliminary Injunction and the Complaint in this

matter are not waived hereby, but are expressly preserved.
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‘JUDGE REGGIE WALTON

United States District Court for the
District of Columbia

DATE: O.4, iS, 200k
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